     8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 1 of 14 - Page ID # 1



                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEBRASKA


ZACH HILLESHEIM,
                                                       Case No. _______________
               Plaintiff,

v.
                                                                COMPLAINT
DMDS, INC.,
                                                            Injunctive Relief Sought
               Defendant



       Plaintiff Zach Hillesheim, by and through the undersigned counsel, brings this ac-
tion against DMDS, INC., a Nebraska business corporation, for violations of the Ameri-
cans With Disabilities Act, 42 U.S.C. § 12181, et seq. (the “ADA”) and its implementing
regulations, and alleges as follows:

                                     INTRODUCTION

       1.      Plaintiff brings this civil rights action against Defendant for failing to de-
sign, construct, and/or own or operate facilities that are fully accessible to, and inde-
pendently usable by, persons with disabilities.
       2.      Defendant owns the auto body shop known as “Dave’s Auto Body Co”
which to the extent it was constructed and first occupied after January 26, 1993 or was
altered after January 26, 1993 was required to be designed and constructed to be readily
accessible to persons with disabilities. To the extent “Dave’s Auto Body Co” was not
constructed or altered before January 26, 1993, it was required to remove barriers to ac-
cess to the extent barrier removal was readily achievable. “Dave’s Auto Body Co” con-
tains architectural barriers to accessibility.


                                                 -1-
    8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 2 of 14 - Page ID # 2



       3.     The violations alleged in this complaint occurred at “Dave’s Auto Body
Co”, located at 9630 Redick Ave, Omaha, NE 68122.
       4.     Defendant’s failure to provide equal access to “Dave’s Auto Body Co” vio-
lates the mandates of the ADA to provide full and equal enjoyment of a public accom-
modation’s goods, services, facilities, privileges, and advantages.
       5.     Defendant’s conduct constitutes an ongoing and continuous violation of the
law.
       6.     Accordingly, Plaintiff seeks a declaration that Defendant’s facilities violate
federal law and an injunction requiring Defendant to make modifications to the facilities
so that they are fully accessible to, and independently usable by, individuals with disabili-
ties. Plaintiff further requests that the Court retain jurisdiction over this matter for a peri-
od to be determined to ensure that Defendant continues to comply with the relevant
requirements of the ADA.

                            JURISDICTION AND VENUE

       7.     Jurisdiction of this Court arises under 28 U.S.C. §§ 1331 and 1343(a)(3).
This action includes federal law claims brought pursuant to Title III of the Americans
with Disabilities Act, 42 U.S.C. §§ 12181–12189. The Court has the jurisdiction to issue
a declaratory judgment pursuant to 28 U.S.C. § 2201 and Fed R. Civ. P. 57.
       8.     Venue in this judicial district is proper because Defendant is located and
transacts business within this judicial district and has sufficient contacts to be subject to
personal jurisdiction in this judicial district, and because this is the judicial district in
which the acts and omissions giving rise to the claims occurred.

                                         PARTIES

       9.     Plaintiff Zach Hillesheim is a resident of the city of Omaha, Nebraska.

                                             -2-
    8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 3 of 14 - Page ID # 3



         10.    Plaintiff suffers from, and all times relevant hereto has suffered from, a le-
gal disability as defined by the ADA, 42 U.S.C. § 12102(2). Plaintiff is therefore a mem-
ber of a protected class under the ADA, under the regulations implementing the ADA set
forth at 28 C.F.R. § 36.101 et seq.
         11.    Plaintiff Hillesheim was paralyzed as an infant while undergoing surgery to
address a congenital heart defect. During the surgery, his spine was severed, paralyzing
him below the waist. Mr. Hillesheim cannot walk and uses a wheelchair for mobility. As
a person with a disability, Mr. Hillesheim has a personal interest in having full and equal
access to places of public accommodation and to the goods, services, facilities, privileges,
advantages or other things offered therein.
         12.    Defendant DMDS, INC., a Nebraska business corporation, is the owner and
lessor of the real property and improvements which are the subject of this action, the auto
body shop known as “Dave’s Auto Body Co”, a place of public accommodation within
the meaning of the ADA, located at the street address of 9630 Redick Ave, Omaha, NE
68122.

                              FACTUAL BACKGROUND

         13.    On August 18, 2018 Plaintiff Hillesheim visited the auto body shop
“Dave’s Auto Body Co” in Omaha, Nebraska.
         14.    Plaintiff found 1 parking space reserved as an accessible parking space in
the “Dave’s Auto Body Co” customer parking lot.
         15.    The 1 parking space reserved as an accessible parking space lacked an ad-
jacent aisle.
         16.    The sign designating the space as an accessible space was posted less than
60 inches above the surface of the parking space.
         17.    The 1 parking space reserved as an accessible space had a steep slope.

                                              -3-
    8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 4 of 14 - Page ID # 4



       18.      The surface of the parking lot between the parking space reserved as an ac-
cessible parking space and the entrance to “Dave’s Auto Body Co” was broken and une-
ven.
       19.      The ramp leading to the entrance of “Dave’s Auto Body Co” had an unaf-
fixed mat on it.
       20.      There was insufficient maneuvering clearance around the door at “Dave’s
Auto Body Co”.
       21.      Images in Exhibit A to this Complaint depict the “Dave’s Auto Body Co”
customer parking lot as it appeared on Plaintiff’s August 18, 2018 visit.
       22.      In light of the architectural barriers at “Dave’s Auto Body Co”, Plaintiff
Hillesheim is deterred from visiting “Dave’s Auto Body Co” in the future. Plaintiff Hil-
lesheim intends to return to “Dave’s Auto Body Co”, but these architectural barriers deter
him from doing so. He plans to return and patronize “Dave’s Auto Body Co” when he
learns that the premises have been made fully accessible to persons who use wheelchairs
for mobility.
       23.      Plaintiff Hillesheim is a resident of Omaha, Nebraska, and he plans to con-
tinue visiting businesses in the greater Omaha area in the future and would enjoy being
able to patronize Defendant’s auto body shop.
       24.      Plaintiff Hillesheim attempted to access Defendant’s premises but could not
do so independently on a full and equal basis because of his disabilities, due to the physi-
cal barriers to access and violations of the ADA that exist at Defendant’s premises. As a
result of Defendant’s non-compliance with the ADA, Plaintiff Hillesheim cannot inde-
pendently access the facilities and/or is excluded from full and equal enjoyment of the
goods, services, privileges, advantages, and/or accommodations offered therein.




                                            -4-
    8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 5 of 14 - Page ID # 5



              THE ADA AND ITS IMPLEMENTING REGULATIONS

       25.      On July 26, 1990, President George H.W. Bush signed into law the ADA,
42 U.S.C. § 12101, et seq., a comprehensive civil rights law prohibiting discrimination on
the basis of disability. In its findings, Congress determined that, among other things:
             a. Some 43 million Americans have one or more physical or mental disabili-
                ties, and this number is increasing as the population as a whole grows older;
             b. Historically, society has tended to isolate and segregate individuals with
                disabilities, and, despite some improvements, discrimination against indi-
                viduals with disabilities continues to be a serious and pervasive social prob-
                lem;
             c. Discrimination against individuals with disabilities persists in such critical
                areas as employment, public housing accommodations, education, transpor-
                tation, communication, recreation, institutionalization, health services, vot-
                ing, and access to public services;
             d. Individuals with disabilities continually encounter various forms of dis-
                crimination; and
             e. The continuing existence of unfair and unnecessary discrimination and
                prejudice denies people with disabilities the opportunity to compete on an
                equal basis and to pursue those opportunities for which our society is justly
                famous, and costs the United States billions of dollars in unnecessary ex-
                penses resulting from dependency and nonproductivity.

42 U.S.C. § 12101(a)(1)–(3), (5), (9).

       26.      Congress explicitly stated that the purpose of the ADA was to:




                                              -5-
   8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 6 of 14 - Page ID # 6



             a. Provide a clear and comprehensive mandate for the elimination of discrimi-
                nation against individuals with disabilities;
             b. Provide clear, strong, consistent, enforceable standards addressing discrim-
                ination against individuals with disabilities; and
             c. Invoke the sweep of congressional authority, including the power to en-
                force the Fourteenth Amendment and to regulate commerce, in order to ad-
                dress the major areas of discrimination faced day-to-day by individuals
                with disabilities.
42 U.S.C. § 12101(b)(1), (2), (4).
       27.      Title III of the ADA prohibits discrimination in the activities and facilities
of places of public accommodation, and requires places of public accommodation to
comply with ADA standards and to be readily accessible to, and independently usable by,
individuals with disabilities. 42 U.S.C. § 12181–89.
       28.      The ADA provided places of public accommodation one and one half years
from its enactment to implement its requirements. The effective date of Title III of the
ADA was January 26, 1992 (or January 26, 1993 if a business had 10 or fewer employees
and gross receipts of $500,000 or less). 42 U.S.C. § 2181; 28 C.F.R. § 36.508(a).
       29.      Pursuant to the mandates of 42 U.S.C. § 12134(a), the Department of Jus-
tice (“DOJ”) promulgated federal regulations to implement the requirements of Title III
of the ADA, which are codified at 28 C.F.R. Part 36. Appendix A of the 1991 Title III
regulations (republished as Appendix D to 28 C.F.R. Part 36) contains the ADA Stand-
ards for Accessible Design, which were based upon the ADA Accessibility Guidelines
(“1991 ADAAG”) published by the Access Board on the same date. Public accommoda-
tions were required to conform to these regulations by January 26, 1992 (or January 26,




                                              -6-
    8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 7 of 14 - Page ID # 7



1993 if a business had 10 or fewer employees and gross receipts of $500,000 or less). 42
U.S.C. § 12181, et seq.; 28 C.F.R. § 36.508(a).
       30.    In 1994, the Access Board began the process of updating the 1991 ADAAG
by establishing a committee composed of members of the design and construction indus-
tries, the building code community, and State and local government entities, as well as
individuals with disabilities.
       31.    In 1999, based largely upon the report and recommendations of the adviso-
ry committee, the Access Board issued a notice of proposed rulemaking to update and
revise the 1991 ADAAG.
       32.    The Access Board issued final publication of revisions to the 1991
ADAAG on July 3, 2004.
       33.    On September 30, 2004, the DOJ issued an advance notice of proposed
rulemaking to begin the process of adopting the 2004 ADAAG revisions.
       34.    On June 17, 2008, the DOJ published a notice of proposed rulemaking cov-
ering Title III of the ADA.
       35.    The extended process of revising the 1991 ADAAG culminated with the
DOJ’s issuance of the 2010 Standards for Accessible Design (“2010 Standards”). The
2010 Standards incorporated the revised 2004 ADA Accessibility Guidelines
(“ADAAG”), as well as the requirements contained in subpart D of 28 C.F.R. Part 36.
The DOJ published the Final Rule detailing the 2010 Standards on September 15, 2010.
The 2010 Standards became effective on March 15, 2011.

                                 FACTUAL ALLEGATIONS

       36.    Defendant has discriminated against Plaintiff on the basis of his disabilities
by failing to comply with the requirements of the ADA and the ADAAG with regard to
“Dave’s Auto Body Co”. A specific, though not exclusive, list of unlawful physical barri-

                                           -7-
    8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 8 of 14 - Page ID # 8



ers and ADA violations present at “Dave’s Auto Body Co” which limit the ability of per-
sons in wheelchairs to access the facilities and/or to enjoy the goods, services, privileges,
advantages and/or accommodations offered therein on a full and equal basis, includes the
following:
          a. The “Dave’s Auto Body Co” customer parking lot had 0 parking spaces re-
              served as accessible spaces that complied with ADAAG 502, rather than
              the required 1 in violation of ADAAG 208.2. Plaintiff requires accessible
              parking spaces which comply with all elements of 502 (including location,
              width, length, signage, slope, and presence of an access aisle) to ensure he
              can park safely, make a safe transfer between his vehicle and wheelchair,
              and travel safely between the parking lot to the building entrance.
          b. The 1 parking space reserved as an accessible parking space lacked an ad-
              jacent access aisle, in violation of ADAAG 502.2. Plaintiff uses a wheel-
              chair for mobility and requires and adjacent access aisle to make a safe
              transfer between his vehicle and the parking lot. In order to be a compliant
              access aisle, the access aisle must comply 502.3 governing access aisles,
              and with the sloping requirements of 502.4. Plaintiff uses a wheelchair for
              mobility and needs a safe place to transfer between his vehicle and the
              parking lot.
          c. The 1 parking space reserved as an accessible parking space in the “Dave’s
              Auto Body Co” customer parking lot had signage posted lower than 60
              inches above the surface of the parking space, in violation of ADAAG
              216.5 and 502.6. Improperly posted sign-age creates the risk of someone
              inadvertently parking in the parking space, makes it difficult to find acces-




                                            -8-
  8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 9 of 14 - Page ID # 9



              sible parking, and hinders the ability of law enforcement to enforce parking
              laws and regulations.
           d. The 1 parking space reserved as an accessible parking space in the “Dave’s
              Auto Body Co” customer parking lot had a slope steeper than 1:48, in vio-
              lation of ADAAG 502.4. Plaintiff needs a level surface to make a safe
              transfer between his vehicle and the parking lot.
           e. The surface of the “Dave’s Auto Body Co” customer parking lot between
              the 1 parking space reserved as an accessible parking space and the “Dave’s
              Auto Body Co” entrance was broken and uneven, meaning there was no ac-
              cessible route from the customer parking lot to the entrance, in violation of
              ADAAG 302.1, 403.2, and 208.3. Plaintiff requires a firm, stable ground
              surface so he can safely navigate between his car and building entrances in
              his wheelchair. The broken and uneven surface of the customer parking lot
              also shows a failure to maintain accessible features, in violation of 28
              C.F.R. § 36.211.
           f. The curb ramp leading to the entrance of “Dave’s Auto Body Co” had an
              unaffixed carpet mat on it, in violation of ADAAG 302.2 and 405.4. Car-
              pets require Plaintiff to use an increased amount of force in order to propel
              his wheelchair forward, and mats that are not affixed properly are difficult
              and unsafe to navigate.
           g. The area in front of the pull door to “Dave’s Auto Body Co” was too small
              to provide sufficient maneuvering clearance for Plaintiff to navigate in his
              wheelchair, in violation of ADAAG 404.2.4.1.
     37.      The above listing is not to be considered all-inclusive of the barriers and
violations of the ADA encountered by Plaintiff or which exist at “Dave’s Auto Body


                                           -9-
 8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 10 of 14 - Page ID # 10



Co”. To qualify as an accessible parking facility, and for a parking space to qualify an
accessible parking space, the space must be located on an accessible route, the route
must be the shortest accessible route, the space must be marked by appropriate signage,
the space must be flanked by an access aisle, and the space and access aisle must comply
with sloping requirements. ADAAG 206; 208; 216, Chapter 4 including but not limited
to 402, 403, 404, 405, and 406; and 502 – including, but not limited to, 502.4 which
governs the floor or ground surfaces of both parking spaces and access aisles.
      38.    In order to fully remedy the discriminatory conditions, Plaintiff requires an
inspection of “Dave’s Auto Body Co” in order to photograph and measure all such bar-
riers to access and violations of the ADA and the ADAAG.
      39.    Compliance with the ADA standards, and the ADAAG is required by 42
U.S.C §§ 12182 and 12183 to the extent the facility was designed and constructed or al-
tered after January 26, 1993, and the violations to the ADAAG requirements are not a
result of compliance being structurally impracticable. 28 C.F.R § 36.401(a)(1).
      40.    In the alternative, to the extent any architectural elements were constructed
prior to that date, compliance with the ADA standards and the ADAAG is required by
42 U.S.C § 12182(b)(2)(A)(iv) because removal of architectural barriers is readily
achievable. Compliance with the ADA standards and the ADAAG is readily achievable
by Defendant due to the lack of difficulty and low cost of remedying the above-listed
barriers. Some of the above-listed violations can be remedied through the same measures
prescribed by federal regulation as examples of modifications that are “readily achieva-
ble”, including, but not limited to, creating accessible parking spaces. 28 C.F.R. §
36.304(b).
      41.    Compliance is also readily achievable due to the significant assistance
available to businesses. Section 44 of the IRS Code allows a Disabled Access tax credit


                                         - 10 -
  8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 11 of 14 - Page ID # 11



for small businesses with 30 or fewer full-time employees or with total revenues of $1
million or less, which is intended to offset the cost of undertaking barrier removal and
alterations to improve accessibility. Section 190 of the IRS Code provides a tax deduc-
tion for businesses of all sizes for costs incurred in removing architectural barriers, up to
$15,000.       See     ADA       Update:      A      Primer      for     Small     Business,
http://www.ada.gov/regs2010/smallbusiness/smallbusprimer2010.htm#tax             (Mar.   16,
2011).
         42.   As a person with a disability, Plaintiff Hillesheim has a personal interest in
having full and equal access to places of public accommodation and to the goods, ser-
vices, facilities, privileges, advantages or other things offered therein.
         43.   Without injunctive relief, Defendant’s failure to remove accessibility barri-
ers will continue to cause injury to Plaintiff, who will continue to be unable to inde-
pendently access “Dave’s Auto Body Co” and/or to enjoy the goods, services, privileges,
advantages and/or accommodations offered therein on a full and equal basis, in violation
of his rights under the ADA.

                         FIRST CAUSE OF ACTION
    Violations of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq.

         44.   Plaintiff incorporates and realleges the above paragraphs.
         45.   Section 302(a) of Title III of the ADA, 42 U.S.C. §§ 12101 et seq., pro-
vides:

               No individual shall be discriminated against on the basis of
               disability in the full and equal enjoyment of the goods, ser-
               vices, facilities, privileges, advantages, or accommodations of
               any place of public accommodation by any person who owns,
               leases (or leases to), or operates a place of public accommo-
               dation.



                                            - 11 -
  8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 12 of 14 - Page ID # 12



       46.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimina-
tion to deny individuals with disabilities an opportunity to participate in or benefit from
the goods, services, facilities, privileges, advantages, or accommodations that is equal to
the opportunities afforded to other individuals.
       47.    Defendant has discriminated against Plaintiff and others in that it failed to
make its place of public accommodation fully accessible to persons with disabilities on a
full and equal basis in violation of 42 U.S.C. § 12182(a) and the regulations promulgated
thereunder, including the ADAAG, as described above. Plaintiff Hillesheim has been de-
nied full and equal access to “Dave’s Auto Body Co” and/or has been denied the oppor-
tunity to participate in or benefit from the goods, services, facilities, privileges,
advantages, or accommodations on a full and equal basis.
       48.    Defendant has failed to take any prompt and equitable steps to remedy its
discriminatory conduct. Defendant’s violations of the ADA and ADAAG are ongoing.
       49.    Defendant has failed to remove architectural barriers to full and equal ac-
cess by Plaintiff Hillesheim, even though removing the barriers was required and is readi-
ly achievable.
       50.    Plaintiff Hillesheim plans to visit “Dave’s Auto Body Co” again in the near
future. Plaintiff is without adequate remedy at law, has suffered and is suffering irrepara-
ble harm, and reasonably anticipates that he will continue to suffer irreparable harm upon
his planned return visit to “Dave’s Auto Body Co” unless and until Defendant is required
to remove the physical barriers to access and ADA violations that exist at Defendant’s
place of public accommodation, including those set forth specifically herein.
       51.    This Court has authority under 42 U.S.C. § 12188 to grant Plaintiff injunc-
tive relief, including an order requiring Defendant to make “Dave’s Auto Body Co” read-
ily accessible to and independently usable by individuals with disabilities to the extent


                                           - 12 -
  8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 13 of 14 - Page ID # 13



required by the ADA and ADAAG, and/or to close “Dave’s Auto Body Co” until such
time as Defendant cures the access barriers.
       52.      Plaintiff has retained the undersigned counsel for the filing and prosecution
of this action, and is entitled to recover reasonable attorneys’ fees, litigation expenses and
costs from Defendant, pursuant to 42 U.S.C. §§ 12205, 12117, and 28 C.F.R. § 36.505.



WHEREFORE, Plaintiff respectfully requests:

             a. Plaintiff demands a trial in Omaha, Nebraska.
             b. That the Court issue a Declaratory Judgment that determines that Defend-
                ant’s facilities, at the commencement of the instant suit, are in violation of
                Title III of the ADA, 42 U.S.C. § 12181, et seq., and the relevant imple-
                menting regulations including the ADAAG.
             c. That the Court award nominal damages.
             d. That the Court issue a permanent injunction, pursuant to 42 U.S.C.
                § 12188(a)(2) and 28 C.F.R. § 36.504(a), enjoining Defendant from contin-
                uing its discriminatory practices; including an order directing Defendant to
                remove all barriers to the maximum extent feasible or in the alternative
                make all readily achievable alterations to its facilities so as to remove phys-
                ical barriers to access and make its facilities fully accessible to and inde-
                pendently usable by individuals with disabilities to the extent required by
                the ADA; and also including an order requiring Defendant to make all rea-
                sonable modifications in policies, practices or procedures necessary to af-
                ford all offered goods, services, facilities, privileges, advantages or
                accommodations to individuals with disabilities on a full and equal basis.



                                             - 13 -
  8:18-cv-00521-JMG-CRZ Doc # 1 Filed: 11/01/18 Page 14 of 14 - Page ID # 14



        e. That the Court award Plaintiff his reasonable attorneys’ fees, litigation ex-
           penses, and costs of suit pursuant to 42 U.S.C. § 12205 and 28 C.F.R.
           § 36.505, or as otherwise provided by law; and
        f. That the Court issue such other relief as it deems just and proper, and/or is
           allowable under Title III of the ADA.




DATED: November 1, 2018

                                       /s/ Padraigin L. Browne
                                       Padraigin L. Browne (MN Bar # 389962)
                                       Browne Law LLC
                                       8530 Eagle Point Blvd, suite 100
                                       Lake Elmo, MN 55042
                                       E-mail: paddy@brownelawllc.com
                                       Phone: (612) 293-4805




                                        - 14 -
